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 1   IAN ADAMS, State Bar No. 313000

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 5   Attorney for Amicus Curiae
     INTERNATIONAL CENTER FOR LAW &
 6   ECONOMICS
 7

 8                                IN THE UNITED STATES DISTRICT COURT
 9                             THE NORTHERN DISTRICT OF CALIFORNIA
10                                            SAN JOSE DIVISION
11

12   NETCHOICE, LLC d/b/a NetChoice,                    Case No. 5:22-cv-08861-BLF
13                   Plaintiff,                         UNOPPOSED MOTION OF
                                                        INTERNATIONAL CENTER FOR LAW
14           v.                                         & ECONOMICS FOR LEAVE TO FILE
                                                        BRIEF AS AMICUS CURIAE
15   ROB BONTA, ATTORNEY GENERAL OF
     THE STATE OF CALIFORNIA, in his official
16   capacity,                                          Judge: Honorable Beth Labson Freeman
                                                        Action Filed: December 14, 2022
17                   Defendant.
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     ICLE’s Motion for Leave to File Amicus Brief
     Case No. 5:22-cv-08861-BLF
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 1                                  NOTICE OF UNOPPOSED MOTION
 2           The International Center for Law & Economics (“ICLE”), through undersigned counsel,
 3   respectfully moves the Court for leave to file the attached amicus curiae brief in support of
 4   Plaintiff NetChoice, LLC’s Second Motion for Preliminary Injunction. Plaintiff and Defendant
 5   have consented to filing of this brief.
 6                                    INTEREST OF AMICUS CURIAE
 7           ICLE is a nonprofit, non-partisan global research and policy center that builds intellectual
 8   foundations for sensible, economically grounded policy. ICLE promotes the use of law and
 9   economics methodologies and economic learning to inform policy debates and has longstanding
10   expertise evaluating law and policy.
11           ICLE has an interest in ensuring that First Amendment law promotes the public interest
12   by remaining grounded in sensible rules informed by sound economic analysis. ICLE scholars
13   have written extensively on issues related to Internet regulation and free speech, including the
14   interaction of privacy rules and the First Amendment. ICLE filed a version of this amicus brief in
15   the Ninth Circuit Court of Appeals.
16           ICLE has no interest in or connection to either party in this case. No party or party’s
17   counsel authorized the attached amicus curiae brief in whole or in part. No party outside of ICLE
18   made a monetary contribution intended to fund the preparation or submission of this brief.
19           ICLE seeks leave to file the accompanying brief because it has longstanding expertise in
20   evaluating law and policy relating to innovation and the legal environment facing online speech
21   platforms. In particular, ICLE wishes to elucidate some of the economic considerations
22   underlying the First Amendment questions presented in this case.
23           Because ICLE believes the accompanying brief would assist the Court it in its resolution
24   of this important issue, it respectfully requests this Court’s leave to file the amicus brief.
25                                                  ARGUMENT
26           The Court should consider ICLE’s attached amicus brief because it provides a unique
27   economics-based approach to understanding the relevant tradeoffs at issue in regulating online
28   speech. We offer an alternative legal basis for the Court to apply strict scrutiny to the Age-

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 1   Appropriate Design Code’s restrictions on data collection for the purposes of curating speech
 2   and offering targeted advertising. As such, we believe the Court would benefit from our
 3   perspective.
 4                                                  CONCLUSION
 5           For the reasons set forth above, ICLE respectfully requests that the Court grant this
 6   unopposed motion and give ICLE leave to file the attached brief amicus curiae.
 7                                                          Respectfully submitted,
 8                                                          /s/ Ian Adams
 9                                                          Attorney for Amicus Curiae
                                                            International Center for Law & Economics
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                                         CERTIFICATE OF SERVICE
 1

 2           The undersigned certifies that, on November 8, 2024, I electronically filed the foregoing

 3   with the Clerk of the Court of the U.S. District Court for the Northern District of California by

 4   using the Court’s electronic filing system (ECF).
 5
             Participants in the case who are registered ECF users will be served by the ECF system.
 6
                                                          Respectfully submitted,
 7
                                                          /s/ Ian Adams
 8
                                                          Attorney for Amicus Curiae
 9                                                        International Center for Law & Economics

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